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Bank of America
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Schedule to Schedule

Banc of America Leasing & Capital, LLC Master Lease Agreement Number £02

This Schedule (‘Schedule’), dated as of October 31, 2016, between Banc of America Leasing & Capital, LLC (‘Lesser’) and
Art Van Furniture, inc. (‘Lessee”) Is executed pursuant to Master Lease Agreement Number 31691-90000, dated

2016 (the “Master Lease"), which is incorporated into this Schedule by this reference. Unless otherwise defined in this
Schedule, capitalized terms used in this Schedule have the respective meanings assigned to such terms in the Master Lease, if
any provision of this Schedule conflicts with any provision of the Master Lease, the provisions contained in this Schedule shail
prevail. Lessee hereby authorizes Lessor to insert the serial numbers and other identification data of the Equipment, dates, and
other omitted factual maiters or descriptions in this Schedule.

1. Description of Equipment; Location. The Equipment subject to this Schedule, which has a cost to Lessor in the

aggregate of $397,400.00, which may include taxes, shipping, installation and other related expenses, if any (collectively
“Lessor’s Cost"), are as follows:

 

 

 

 

 

 

 

 

 

 

 

Qty. Year | Make Model | Description | Vehicle Identification No. | Unit Gost Fees Total Cost

4 2017 | Kenworth | T300 | Truck 2@NKHHM6X2HM165276 $78,764.00 | $716.00 $79,480.00
1 2017 | Kenworth | T300 | Truck 2NKHHM6X4HM165277 | $78,764.00-| $716.00} $79,480.00
1 2017 | Kenworth | T300 | Truck 2NKHHMG6X8HM165279 | $78,764.00 | $716.00| $79,480.00
4 2017 | Kenworth | T300 | Truck 2NKHHM6XXHM165283 | $78,764.00 | $718.00| $79,480.00
1 2017 | Kenworth | T300 | Truck @NKHHM6XSHM165286 | $78,764.00 | $716.00! $79,480.00

Grand Total: $397,400.00

Payment Total: $4,624.60

 

 

Location of Equipment. The Equipment will be located or {in the case of over-the-road vehicles) based at the follawing
locations:

Location Address. City County State. aie
A 6560 East 14 Mile Road Warren Macomb Mi 48092

2. Acceptance. Lesses acknowledges and represents that the Equipment (a) has been delivered to, received and inspected
by Lessee, (b) is in good operating order, repair, condition and appearance, (c) is of the manufacture, design and capacity
selected by Lessee and is suitable for the purposes for which the Equipment is leased, and is acceptable and satisfactory to
Lessee, (d} do not require any additions or modifications to make them suitable for use, other than ancillary modifications or
additions normally made by lessees of similar assets, and are available for use and lease by Lessee and Lessor, and (6) have
been irrevocably accepted as “Equipment” leased by Lessee under this Schedule as of the date written below (the “Acceptance
Date"). Lessee hereby authorizes and directs Lessor to reimburse Lessee or pay Vendors for the purchase price of the
Equipment in accordance with Vendors’ invoices therefor, receipt and approval of which are hereby reaffirmed by Lessee.

3. Lease Term. The original Lease Term for the Lease of Equipment under this Schedule consists of:. () an “Interim Term” (if
any) beginning on the Acceptance Date, and continuing through and including the day preceding the Base Date; and (i) a
“Base Term" of sixty. (60) months, beginning on Noyember 28, 2016 (the “Base Date’).

4, Rent. Rent payable under this Schedule consists of: (@ “interim Rent”, which shall be due Lessor for each day of the
Interim Term and equal the daily equivalent of the initial Base Rent, and payable on the Base Date; and (i) “Base Rent’, which
shall be payable in arraars in sixty, (60) consecutive fonthly. installments of $4,624.60 each, or as set forth in the Schedule of
Base Rent installments attached hereto, with the first Base Rent installment being payable thirty (20) days following the Base
Date and the remaining Base Rent installments being payable on the 28th day of each succeeding month.

5. Tax Exemption; Personal Property Taxes. Lessor will involee Lessee for all sales and use taxes as and when due and
payable in accordance with applicable law, unless Lessee timely delivers to Lessor a valid exemption certificate with respect to
such taxes. Delivery of such certificate shall constitute Lessee’s representation and warranty that no such taxes shall become due
and payable with respect to the Equipment, and Lessee shall indemnify and hold harmless Lessor from and against any and all
liability or damages, Including late charges and interest which Lessor may incur by reason of the assessment of such faxes.
Notwithstanding any provision to the conirary In this Lease, Lessor shall file directly with all appropriate taxing authorities all
declarations, retums, inventories and other documentation with respect to any personal property taxes due or to become due with

Lease Schedule (standard FMV) 4.1.06 Page 1 of 3

 
 

 

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‘respect'to the Equipment:("Taxes") and shal pay on or before the date. when due all such Taxes: assessed, billed or otherwise
payable with respect to stich Equipment directly. to such taxing authorities. Lessee shall indemnify and, ‘upon demand, reimburse

Lessor for all Taxes pald:by Lessor. The indemnity, covenants and reimbursement. obligations set forth herein shail continue in fui
force and effect and:shall:survive the expiration or earlier termination of this. Lease. ie

6. Tax Matters. Lessee represents, warrants and agrees that (i) Lessee. will not. claim that: Lessee. is the owner of the

Equipment or that Lessee is otherwise erititled to all. or any of the Tax. Benefits; (i) the Equipment will not require any
improvements, modifications, or additions (other than ancillary or incidental items of removable equipment} in order to be
rendered ‘complete for its intended use by Lessee; {iii} the Equipment will not constitute “limited :use propeity” within the
meaning of Rev, Proc. 2001-28; (iv) during the. Lease Term, Lessor shall not be required to. include‘in its gross income: for
federal income tax purposes (1) any ‘amount derived from the cost of any alteration, addition, improvement, modification,
replacement, or substitution of the Equipment or from any tefund or credit from the Vendor of the Equipment or (2): any foreign
source income under Section'863 of ‘the Cade; (v) the Equipment will not constitute “public utility property" or “tax-exempt use
property" within the meaning of Sections 168(i}(10) or 168(h) of the Code;-and (vi) the Equipment constitutes “qualified property”
eligible for the additional."bonus depreciation” deduction allowance. described in Section 168(k) of the Internal Revenue Code of:

 

1886, as amended, and Lessee acknowledges: that Lessor has assumed such Sligibitity in reliance. upon the foregoing
representation and warratity of Lessee. The definition of “Tax Benefits” set:forth'in Section 7(c) of thé: Master Lease is hereby
amended to include such:allowance, and any-loss, disallowance, recapture or delay in. claiming of such allowance -shall constitute a
"Tax Loss” as defined. therein. “a

7. ‘Further Representations and Agreements. Lessee represents, warrants and agrees as follows: (a) all representations and
warranties of Lessee contained in the Master Lease are restated as of the Acceptance Date and are true and correct as of such
date; (b) there has been no material adverse change in the operations, business, properties or condition, financial or otherwise,
of Lessee or any Guarantor since the date of the most recent financlal-statements provided pursuant to the Master Lease; (6)
there exists no Default or Event of Default.as of the Acceptance Date’. and (d) the operation and maintenance of any Equipment.
in the ordinary course by:Lessee does not require the entry into ‘any software or other intellectual property rights agreement with
any licensor or other person, except.as disclosed to Lessor in writing prior to the Acceptance Date. =

8, Lease Options.

Extension; Purchase-Options.. Provided no Evert of Default has occurred and remains uncured, and-upon Lessee having
provided Lessor with written ‘notice not: more than’ 360 days or less than 90 days prior io expiration of the Lease Terin; Lessee
May irrevocably elect to: 2

(i) extend the Lease Term as to all atid not less than all of ‘the Equipment under this Schedule for a renewal period to be
agreed upon by:Lessee and Lessor for an amount equal to the then fair market rental value of the Equipment, as
determined by Lessor, plus applicable taxes, payable monthly by Lessee to Lessor on the.first ‘day of each month during
the extension term, or os

free from all liens.and encumbrances created by Lessor, but otherwise on an “AS-IS, WHEREIS,” quitclaim basts, for a

purchase price equal to: the:then fair market value of the Equipment, as reasonably determined by Lessor; pius‘all Base:

(ii) purchase all ‘of Lessor’s right, title and interest in:and.to all, but not less than all, af the Equipment under this Schedule,

Rent Installments; late charges. and other amounts then due. and owing under the Lease; plus all.applicable taxes,
assessments and:other charges due-or payable in-connection with the sale of the Equipment (collectively, the “Purchase
Price’). Lessee:shall pay Lessor the Purchase Price on or before the expiration of the Base Term in immediately
available funds. - -

As used herein, “fair-market value" means the amount which would be obtained in an arm's-length transaction between an
informed and willing ‘buyéi-user (other than a buyer-user currently in possession or a used. equipment:or scrap dealer) and an
informed and willing:seller, each under no computsicn to buy or sell, and "fair market rental-value" means the amount which would
be obtained in an arm's-léngth transaction between-an informed and willing lessee (other than-a lessee ‘curently in possession) and
‘an informed and willing: lessor, each under no compulsion to lease: ided, however, that in each such determination (a) the.

costs of removal of. any Equipment from the location of current use shall not be a deduction from such value, {b) it shall be-assumed.

(whether or not the sarne:be trué) thal the Equipment has been maintained and would have been retumed to Lessor ih compliance.
witht the requirements of this Lease, and (c) if any Equipment.has. been-attached to or installed on or in any other property leased or
owned by Lessee, the value for such Equipment shall’be determined cn.an installed basis, in place and in.use.
9. Registration; Special Caiifomia Regulatory Notice.

(A) Registration:

(i) All items of Equipment that-are motor vehicles shail at all times be ragistered and titled as follows:

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{a) Registered Owner. Banc of America Leasing & Capital, LLC (Lessor)
clo Art Van Furniture, Inc. (Lessee)
6500 East 14 Mile Road
Warren, MI 48092

(b) Lienholder, Banc of America Leasing & Capital, LLC
2059 Northlake Parkway, 3rd Floor
Tucker, GA. 30084

(ii) Lessee shall be responsible for the correct titing of all such items of Equipment. Lessee shall cause the original
certificates of title to be delivered to Lessor for retention in Lessor's files throughout the term of the Schedule. All costs of
such registration and licensing are for the account of Lessee.

(B) Notice to Lessee Operating Certain Motor Vehicles In California:

As to any Equipment consisting of a heavy-duty tractor and/or box-type trailer, Lessee understands that when using a heavy-
duty tractor to puil a 53-foot or longer box-type trailer on a highway within California, the heavy-duty tractor and box-type trailer
must be compliant with sections 95300 - 95312, title 17, California Code of Regulations, and that it is the responsibility of
Lessee to ensure this heavy-duty tractor and/or box-type trailer is compliant. The regulations may require any Equipment
consisting of a heavy-duty tractor and/or box-type trailer to have low-rolling-resistance tires and aerodynamic technologies that
are U.S. Environmental Protection Agency (U.S. EPA) SmartWay Verified Fechnologies prior to current or future use in
California, or may entirely prohibit use of this tractor in California if it is a model year 2011 or later tractor and is not a U.S. EPA

SmartWay Certified Tractor. The Lease does not prohibit the Lessee from modifying the trailer ta be compliant with the cited
regulations.

10. Lessor Tax Disclosure. Lessor has assigned its rights, but not its obligations, to purchase the Equipment to BAL Servicing
Corporation (‘BALSC’). In the event that Lessee at any time purchases the Equipment from Lessor, pursuant to a purchase
option set forth in the Lease or otherwise, Lessee is hereby notified that Lessor has assigned to BALSC its rights, but not its
obligations, in the sale of the Equipment to Lessee. This notice is provided in accordance with Internal Revenue Code Section

1031 and related federal income tax authority and dees not affect any of Lessee’s rights, or Lessor's obligations, under the
Lease.

 

BANC OF AMERICA LEASING & CAPITAL, LLC ART VAN-FURNITURE, INC.
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Printed Name(carol Buston-Rifey Printed Name: ___Gary Van Eslander
Title: Vice President Title: President

Acceptance Date: | levembe 4, 2 ole

Where multiple counterpart originals of this Schedule have been executed by Lessee and Lessor, only the counterpart marked
“Lessors Copy” shall be deemed chattel paper evidencing the Lease of Equipment subject to this Schedille, and a security interest
in such chattel paper and Lease may be perfected through the transfer and possession of the “Lessor's Copy” of such Schedule
only, without the need to transfer possession of the Master Lease, any Related Agreement or any other document executed and
delivered in connection with this Lease.

The terms applicable to the Lease of Equipment subject to this Schedule are supplemented by the following:

Annex: Schedule. of Stipulated Loss Values
Annex If: Supplementa! Maintenance and Return Conditions

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‘ANNEX |

STO
SCHEDULE NO. 002
31691-90000

SCHEDULE OF
TIPULATED LOSS VALUES.

Base Rent Base Rent Stipulated

Installment Stipulated Loss Installment Loss Value
Number Value Percentage Number Percentage
0 403.50000 31 "76.08797
1 102.71376 32 75.16082
2 101.86869 33 74,.23065
3 101.02074 34 73.29767
4 100.16989 35 172.38360
5: 99.31611 36 71,42648
6 98.45891 37 70.48655
7 97.59878 38 "69.54552
8 96.73521 39 '68.60142
9 95.86874 40 67.65427
10 94.99927 44 66.70428
11 94.12637 42 5.75317
42 93.25053 43 "64.79922
43 92.37172 44 3.84414
14 91.48945 45 “62,88598
15 90,60422 46 61,92496
16 89.71603 47 60,96281
17 88.82502 48 “§9.99756
18 87.93206 49 59.02945
19 87.03626 50 5806018
20 86.13851 51. 57.08781
21 85.23776 52 56.11233
22 84.33420 53 §5.13502
23 83.42865 54 4.16613
24. 82:52010- 55 ‘§3,.19542
25 81,60869 56 '$2.23314
26 80.69530 57 “5126777
27 79,77890 58 _ 50.30059
28 78.85949 59 '49.34184
29, 77.93730 60 '48.38000
30 77.01402

 
 

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‘ANNEX HU

. _ 10
< SCHEDULE NO. 002
: 31691-90000

SUPPLEMENTAL MAINTENANCE AND RETURN CONDITIONS

MOTOR VEHICLES

In addition to the maintenance and return provisions applicable to. all Equipment sét forth in the Master Lease, the following shall apply to the.
Equipment'subject to the Schedule: x

_ 1, The Equipment shall be operated only by. appropriately- liceused drivers to be selected, employed, controlled and paid by Lessee
and.who shall be conclusively presumed to be the agents of Lesseo. Such Equipment shall be operated in.a safe and reasonable manner so.
as.to prevent loss.or damage to such Equipinent or other property aiid injury to-third parties. Lessee-will, at its sole: expense: (a). réplace all
parts and tires for such‘Equipment as specifically provided for herein and supply all gasoline, oil, grease and other items required in the
operation of such. Equipment; (b) pifor to any operation of such Equipment, obtain. ail titles, régistrations, registration plates, perniits and
licenses, including all renewals thereof, which are required for the Jawfiit ownership, uss and operation of such Equipment; (ce) cause such
Equipment.to be titled and registered in the name-of Lessor:as owner and-first and sole lienholder, or in such other manner as Lessor shall
direct; (d) furnish all-original certificates of title, lien registration notices arid related documentation to Lessor; and-(e) retain all certificates
of registration (and where required ‘by applicable law, a copy of the Lease) in such Equipment: Lessor may furnish Lessee with a limited

“power of attomsy: for the sole and limited purpose of effecting said titling, registration and licensing.

2. Lessee. shall ensure that all. Equipment and‘Equipment operations conform to all applicable local, state, and federal laws, health
and safety guidelines. Upon. return, the Bquipment will be complete and operational with all. components-as. originally supplied and. will
have: passed U. S. Department of Transportation DOT”) or appropriate regulatory agency requirements for operation. If applicable, an
inspection sticker or-cértificate will be furnished to Lessor verifying compliance with any regulatory requirements: Lessee shall satisfy alt
légal and regulatory conditions necessary for. Lessor to sell or lease the Equipment to a third party. Lessee will keep all Heenses and
operating certificates required for operation of the Equipment current during the Lease Term: “

3. Inaddition tothe provisions-of Section’7 of the Master Lease, Lessee. will pay when due, and wif] indemnify and hold Lessor and
its assigns hannless from and against: (a) any license, titling, registration or other fees, liabilities, losses, darhiges, penalties, claims,
actions, suits, costs and expenses, including legal expenses, of every kind and nature. whatsoever, imposed on; :Incurred by; or asserted:
against Lessor or its agétits, successors and: assigné, in.any way relating to of arising out of any power of attorney issued by Lessor to any
Person or persons desighated by Lessee to apply on behalf of Lessor for applications for the licensing, titlingor registration. of such
Equipment, or. any odometer. certification with respect to such Equipment; and (b) all towing charges, parking. lls, fines, parking and

 

speeding tickets and other civil and criminal motor vehicle violations (and all fines, penalties and interest applicable thereto) with respact to
such Equipment. Lessee Shalt pay.and shall file ‘all retums with respect to all highway use taxes with respect to’ the Equipment, unless
otherwise directed in writing by Lessor, “

4, Lessee shall, at its expense, at all times maintain, and at the expiration or termination of the Lease Term re-deliver, the
Equiprnent in accordance -with the following provisions: “

eral Condition: The Equiprient must be. able to pass Federal ‘Highway: Administration inspection. The Equipment shall be

structurally sound with no material structural or mechanical damage, in good overall appearance,-clean and: cosmetically acceptable to
Lessor, with no missing or damaged parts, ordinary wear and tear excepted. i

The Equipment shali be free of ail rust. and corrosion. No glass shal] be-broken or cracked, ‘no upholstery shail have any cuts or bums
and there shall be no physical. damage to. exterior or interior materials from nonmaf uge that-exceeds $250-in the aggregate and no
physical damage from accidenis. “

Upon retum, all iterus of Equipment shall be completely de-identified, including but not ‘limited to‘all commereia! logos, advertising,
graffiti, Lessee insignia‘and lettering. The de-identified surfaces shall be tepaired:-and refinished in such a way that the-area blends in
with the remainder of the item's overall appearaiice, Munufacturer’s identity plates. and maarkings shall not be, removed or obscured.

Fuel tanks must be at least twenty-five percent (25%) full.

Documents:and Records, Writteri records of scheduled and other maintenance and repair work done shall e ‘kept, dated, and signed
by the appropriate authority. A service history or log will be maintained during the Lease Term, in English, and a copy provided to
Lessor upon requést.during the Lease ‘Term, or ot. the expiration or other termination (by acceleration or otherwise) of the Lease; Al!
maintenance records, maintenance record jackets, repair jackets, repair orders, license plates, registration certificates. and all other

‘similar décuments, in their entirety, must be returncd to Lessor,

  

Tires. All tires shall be. matched on each item of Equipment by the saine type'and tread. design, original.sizg,.and manufactuter, and
hhave a minimum of 12/32 inch of remaining tread depth, All front tires shall be original casings. One-time only recapped rear tires are:
-acceptable provided that they comply with DOT requirements. Ail tires.shall be free of flat or bald spots, cupping, ‘dry tof, cufs.and
‘exposed cords. fh

Motor Vehicles +4, 1.08

 
 

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‘Annex I — Supplemental Maintenance and Retum Conditions
Page. 2 :

Mechanical PowerTrain. Lessee shall repair to Lessar’s sensonable. satisfaction any item of Equipment which has engirie knack, is
smoking, is. misfiring, has-abnonnal engine Vibration, or leakage. There’shall be no-cracked-cylinder heads ‘or.engine blocks, excess.
blow-by, exhaust system: leakage or oil leakage;/the tratismission and rear axles: shall be capable of pullingloads to their fult rated
capacity; there shall ‘be no transthission, drive axle or wheel hub oif leaks and there shall be no slipping or grabbing clutch.

An In-Franie engisié rebuild-is required at 500,000 miles for smail block engines and at 800,000 miles for large block engines. All
‘electronic-engines mist have the password removed prior to tum~in, °

‘Brakes. Brake deus and linings shall not-be cracked and shall not exceed manufacturer's recommendeil “wear limits. Brake linings
on. each item of Equipment shall have a minimum of 3/8 inch of remaining, wear oa-each lining. :

Batteries and Electrical System. Batteries :must be capable of starting the Equipment unassisted and of holding a charge, Electiical
system (including lighting) must be fully operational, *

Maintenance. ‘Lessee shall strictly follow the manufacturer’s recommended maintenance and service schedule,-as required to validate
any warranty, at Lessee’s sole cost and expense, Any maintenance of repair work shall. comply with the guidelines and procedures-as
specified by the manufacturers of the Equipment or each component of the Equipment. Lessee will use ‘only original manufacturer's:
approved. replaccment parts and components in the petformance of any maintenance and répair of the Equipment. Lessee-will at all
times maintain the:Equipment. in godd ‘operational condition aiid: appearance, and sliall: not discriminate. in such-maintenance between
owned or leased Equipment. 2

  

Mileage. Average‘annual ‘mileage; in the aggregate, for each unit shall not exceed 35,000 mites, Should mileage exceed this limit,
Lessee agrees to pay.a mileage surcharge of five and-one half cents ($0.005) per mile in. excess of this mileage limit.

Mandatory Alterations. Changes, modifications. or additions to the Equipment mandated’ by Federal, state of locsl authorities will be
completed ‘by, and.at:the sole cost'and expense of, Lessee and shall automatically be deemed the property of Lesgor.

Pre-Surender Inspection, Prior to any surtender of the: Equipment, an in depth physical inspection will bé.conducted“by an
appropriate manufacturer’s. service representative(s) or independent service organization on behalf of and selected by ‘Lessor, and paid
for by Lessee. Any part, component of function found not to be within the manufucturer’s tolerances and operational speoifications
will be replaced or-brought within: those. tolerances and specifications to-the satisfaction of Lessor, at the sole. cost and expense of
Lessee, *

 
